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          EXHIBIT D
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                                                                              3/1/2023    56AM
                                                                                                  Cassandra C. Tigner, District Clerk
                                                                                                  Brazoria County, Texas
                                                                                                  121844-CV
                                                                                                  Alyssa Cook, Deputy

                                                          121844-CV
                                              CAUSE NO. ________________

            SHELTON HOWARD                                 §       IN THE DISTRICT COURT OF
                                                           §
            v.                                             §       BRAZORIA COUNTY, TEXAS
                                                           §
            AMERIHOME MORTGAGE                             §
            COMPANY, LLC                                   §       _______ JUDICIAL DISTRICT


                                        TEMPORARY RESTRAINING ORDER

                   ON THIS DATE Plaintiff’s Application for Temporary Restraining Order was heard and

            considered before this Court. Based upon the pleadings, exhibits, records, and documents filed by

            Plaintiff and presented to the Court, as well as the arguments of legal counsel at the hearing, IT

            CLEARLY APPEARS THAT:

                   A.      Unless AmeriHome Mortgage Company, LLC, its agents, employees, directors,

            shareholders, and legal counsel are immediately enjoined and restrained, AmeriHome Mortgage

            Company, LLC will proceed with a foreclosure sale of Plaintiff’s property commonly known as

            3902 Houston Lake Dr., Pearland, TX 77581 and Plaintiff will suffer an immediate and

            irreparable harm and will have no adequate remedies under the law, and may commit the

            foregoing before notice and hearing on Plaintiff’s Application for Temporary Injunction.

                   B.      Plaintiff will suffer an irreparable harm if AmeriHome Mortgage Company, LLC,

            its agents, employees, directors, shareholders, and legal counsel are not restrained immediately

            because Plaintiff will lose her fee simple title and ownership of his Property, which is Plaintiff’s

            residence and homestead and is thus unique and irreplaceable, and there is no adequate remedy at

            law to grant Plaintiff complete, final, and equitable relief.

                   C.      Plaintiff has provided notice to AmeriHome Mortgage Company, LLC informing

            them of the filing of Plaintiff’s Application for Temporary Restraining Order prior to this Court




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            conducting this hearing.

                   IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that AmeriHome

            Mortgage Company, LLC, its agents, employees, directors, shareholders, and legal counsel are

            hereby ORDERED to immediately cease and desist from attempting or proceeding with any

            foreclosure sale of Plaintiff’s property commonly known as 3902 Houston Lake Dr., Pearland,

            TX 77581. AmeriHome Mortgage Company, LLC, its agents, employees, directors, shareholders,

            and legal counsel are hereby immediately enjoined and restrained from the date of entry of this

            Order until fourteen (14) days hereafter, or until further ordered by this Court.

                   IT IS FURTHER THEREFORE ORDERED, ADJUDGED, AND DECREED that

            Plaintiff’s Application for Temporary Injunction be heard on the ____day of March 2023 starting

            at          a.m./p.m. and that AmeriHome Mortgage Company, LLC is commanded to appear at

            that time and show cause, if any, why a temporary injunction should not be issued against

            AmeriHome Mortgage Company, LLC

                    The Clerk of the above-entitled court shall issue a notice of entry of a temporary

            restraining order in conformity with the law and the terms of this Order, to include a copy of this

            Order, upon the filing by Plaintiff of the bond hereinafter set.

                   This Order shall not be effective until Plaintiff deposits with the Brazoria County District

            Clerk a bond in the amount of $____________ in due conformity with applicable law.



                   SIGNED and ENTERED this the _____day of March 2023, at _____a.m./p.m.



                                                   PRESIDING JUDGE




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                                                                                3/1/2023    56AM
                                       BRAZORIA COUNTY DISTRICT CLERK                  Cassandra C. Tigner, District Clerk
                                                                                       Brazoria County, Texas
                                                   DONNA  STARKEY
                                                   Cassandra Tigner                    121844-CV
                                                                                       Alyssa Cook, Deputy
                                      Process Request – Please Type/Print All Information
                                            *One request for each party being served.
                        121844-CV
      Cause No. _____________________
      Document(s) to be Served: ___________________________________________________________________
      Name of Party to be Served: __________________________________________________________________
      Registered Agent (if applicable): ______________________________________________________________
      Service Address: ___________________________________________________________________________
      City, State, Zip:
      Service by: (check one)
      ☐BCSO Bo Stallman                                 ☐Certified Mail ☐Restricted ☐Non-Restricted
      ☐Constable David Thacker Pct. 1                   ☐Return to Attorney by Mail:           __
      ☐Constable Willie Howell Pct. 2                        __             __          __    __
      ☐Constable Buck Stevens Pct. 3                    ☐Email:                  __        __    __
      ☐Constable James Brawner Pct. 4                   ☐Pick up by (Name): _______________________
      ☐Publication (Name & Address of Newspaper) ______________________________________________
      ☐Publication to OCA Portal/Website #of days __
      ☐Posting at Courthouse Door
      Family –
      Relief Requested (Required): ____________________________________________________________
      Date of Birth/Place of Birth for Each Child (Required): _______________________________________
      _____________________________________________________________________________________
      Civil – As per TRCP 115, attach legal description of property if applicable and state relief requested.
      Relief Requested (Required): ____________________________________________________________
      Property Description: ___________________________________________________________________
      _____________________________________________________________________________________
      When Service is by SHERIFF/CONSTABLE, please provide as much information as possible by
      completing the blanks to expedite service.

      Description:
      ☐Male ☐Female Date of Birth____________ Race__________ Eyes___________ Hair__________
      Tattoos, Scars, Facial Hair, Glasses, etc._____________________________________________________
      Other address person may be found: ________________________________________________________
      Gate Access Code__________                              Building Number__________
      Descr. of house (i.e., trailer park, subdivision):________________________________________________
      Cell/Home Phone:_________________________               Work Phone:______________________________
      Any vehicles? Yr_______Make___________Model______________Color___________LP#___________
      Best time to Serve:         ☐Days               ☐Evenings             ☐Nights
      Name and address of Employer:__________________________________________________________
      List any other information the deputies should know. For example, is party being served known to be
      violent, owns weapons, mental or physical illness, dogs in yard, locked gates, etc.?
      _____________________________________________________________________________________
                                                   Service requested by:
      Name and Email: ____________________________________________________________________
      Cell/Home Phone:__________________________ Work:___________________________________


       S:forms>forms>Process Request                                                June 22, 2022
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